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 1   MICHAEL B. BIGELOW
     Attorney at Law
 2   State Bar No. 65211
     331 J Street, Suite 200
 3   Sacramento, CA 95814
     Telephone: (916) 443-0217
 4   Email:LawOffice.mbigelow@gmail.com
 5   Attorney for Defendant
     Nicholas Ramirez
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )   Case No. 2:11-cv-00190 MCE
10                                     )
                 Plaintiff,            )   STIPULATION TO CONTINUE
11                                     )   STATUS; ORDER THEREON
         vs.                           )
12                                     )
     NICHOLAS RAMIREZ,                 )
13   TIFFANY BROWN                     )
                                       )
14               Defendant             )
                                       )
15

16
         Plaintiff United States of America, by and through its
17
     counsel of record, and the defendant’s herein, by and through
18
     their counsel of record, hereby stipulates as follows:
19

20       By previous order, this matter was set for status on May

21   27, 2015.

22       By this stipulation, defendants now move to continue the

23   status conference until July 30, 2015 and to exclude time

24   between May 27, 2015, and July 30, 2015 under Local Code T4.
25   Plaintiff does not oppose this request.



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 1       Counsel for defendants desire additional time to review
 2   documents and to consult with their clients in efforts to
 3
     resolve this case.
 4
         The government does not object to the continuance.
 5
         Based on the above-stated findings, the ends of justice
 6
     served by continuing the case as requested outweigh the interest
 7
     of the public and the defendant in a trial within the original
 8
     date prescribed by the Speedy Trial Act.
 9
         For the purpose of computing time under the Speedy Trial
10
     Act, 18 U.S.C. § 3161, et seq., within which trial must
11

12
     commence, the time period of May 27, 2015 to July 30, 2015,

13   inclusive, is deemed excludable pursuant to 18 U.S.C.§

14   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

15   continuance granted by the Court at defendant’s request on the

16   basis of the Court's finding that the ends of justice served by
17   taking such action outweigh the best interest of the public and
18
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
19
         Nothing in this stipulation and order shall preclude a
20
     finding that other provisions of the Speedy Trial Act dictate
21
     that additional time periods are excludable from the period
22
     within which a trial must commence.
23
     DATED: May 26, 2015                      Respectfully submitted
24
                                              /S/MICHAEL B. BIGELOW
25                                            Michael B. Bigelow
                                              Attorney for Nicholas Ramirez


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 1

 2   IT IS SO STIPULATED.
 3
     /S/ JASON HITT
 4
     Jason Hitt, Esq.,                               Dated: May 26, 2015
 5   Assistant United States Attorney
     Attorney for Plaintiff
 6

 7
     /S/MICHAEL B. BIGELOW                           Dated: May 26, 2015
 8   Michael B. Bigelow
     Attorney for Defendant
 9   Nicholas Ramirez
10   /s/Dina Santos
     Dina Santos,                                    Dated: May 26, 2015
11
     Attorney for Tiffany Brown
12

13

14                                         ORDER

15

16                In accordance with the foregoing stipulation, and good

17   cause appearing therefor, the above referenced matter shall be
18
     continued for status hearing until July 30, 2015 at 9:00 a.m.,
19
     with time excluded for the reasons set forth above.
20
         IT IS SO ORDERED.
21
     Dated:     May 29, 2015
22

23

24

25




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